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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., et al.,

        Plaintiffs,

            v.
                                                     No. 1:21-cv-02130-CJN
 HERRING NETWORKS, INC., et al.,
                                                     Judge Carl J. Nichols
        Defendants.




                                  INDEX OF EXHIBITS

      The following exhibits in support of Dominion’s Opposition to Defendants’ Motion to
Dismiss, Stay, or Transfer are attached to the supporting declaration of Katherine Peaslee:

   1.     Motion for Leave to File Amicus Curiae Brief of One America News Network in
          Opposition to Plaintiffs’ Motions for a Temporary Restraining Order and Preliminary
          Injunction, filed in Cable News Netword, Inc. v. Donald J. Trump, Case No. 1:18-cv-
          02610-TJK, at ECF No. 18 on November 15, 2018.

   2.     Complaint and Demand for Jury Trial filed in Smartmatic USA Corp., v. Herring
          Networks, Inc., d/b/a One America News Network, Case No. 21-cv-02900, at ECF No.
          1, dated November 3, 2021.

   3.     Declaration of Charles Herring in Support of Plaintiff’s Opposition to AT&T Inc.’s
          Motion to Dismiss Complaint for Lack of Personal Jurisdiction, filed in Herring
          Networks, Inc. v. AT&T Services, Inc., Case No. 16-cv-01636-CAS-AGR, at ECF No.
          35, dated May 23, 2016.

   4.     Public LinkedIn profile of Alexander Bruesewitz.

   5.     Public LinkedIn profile of Stephanie Hamill.

   6.     Brief of One America News Network as Amicus Curiae Opposing Plaintiffs’ Motions
          for a Temporary Restraining Order and Preliminary Injunction, filed in Cable News
          Network, Inc. v. Donald J. Trump, Case No. 18-cv-02610-TJK, at ECF No. 18-1, dated
          November 15, 2018.




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